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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

ABC Corporation I, et al.
                                                       Plaintiff,
v.                                                                  Case No.:
                                                                    1:20−cv−04806
                                                                    Honorable Thomas M.
                                                                    Durkin
The Partnership and Unincorporated Associations
Identified on Schedule "A", et al.
                                                       Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, July 20, 2023:


        MINUTE entry before the Honorable Thomas M. Durkin: Local Rule 7.1 limits
briefs to 15 pages absent "prior approval of the court." The Court granted Defendants'
motion for leave to file "an over−length brief" in support of summary judgment [631]
[632]. The Court failed to limit the number of additional pages, and Defendants filed a
brief of 71 pages [629]. Defendants then filed a reply brief of 46 pages [643], whereas
Plaintiffs were able to respond to Defendants' motion in only 23 pages [635]. Defendants'
briefs are of unreasonable length and greatly exceed the length necessary to defend against
Plaintiffs' claims. For this reason, Defendants' motion [628] is denied without prejudice so
that they may file more concise briefs. Defendants may refile their motion, supported by a
brief of no more than 30 pages, due by 9/8/2023; Plaintiffs may file a revised response of
30 pages, due by 9/29/2023; and Defendants may file a reply of 15 pages, due by
10/13/2023. The parties statements of material fact and statements of additional material
fact and responses should be refiled in conjunction with their revised briefs, but the
statements should not be lengthened or revised in any manner. Mailed notice. (ecw, )




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